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 Fill in this information to identify the case:

 Debtor name         53 Stanhope LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         19-23013
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 3, 2019                            X /s/ David Goldwasser, Authorized signatory of GC Realty Advisors
                                                                       Signature of individual signing on behalf of debtor

                                                                       David Goldwasser, Authorized signatory of GC Realty Advisors
                                                                       Printed name

                                                                       Vice President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name 53 Stanhope LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                     Check if this is an
                                                YORK
 Case number (if known):         19-23013                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Abrams Fensterman                                                                                                                                                      $150,400.00
 LLP
 1 Metrotech Center
 Suite 1701
 Brooklyn, NY 11201
 CS Construction                                                                        Unliquidated                                                                      $25,000.00
 LLC
 116 Norstrand Ave
 Brooklyn, NY 11205
 Hutman &Hutman                                                                                                                                                             $1,750.00
 Certified Public
 Accounta
 435 E County Line
 Road
 Lakewood, NJ 08701
 NYC Water Board                                                                                                                                                            $5,501.00
 PO Box 11863
 Newark, NJ
 07101-8163
 S&F Locksmith INC                                                                      Unliquidated                                                                          $420.26
 199 LEE AVE
 Brooklyn, NY 11211
 Silver Spring Capital                                                                                                                                                      $6,750.00
 244 5th Ave, Suite
 2232
 New York, NY 10001




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Fill in this information to identify the case:

 Debtor name            53 Stanhope LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)               19-23013
                                                                                                                                                                                          Check if this is an
                                                                                                                                                                                          amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                      12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                     $        3,500,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                        $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                       $        3,500,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                     $        2,664,019.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                        $              5,501.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                                +$           184,320.26


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                              $           2,853,840.26




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                    page 1
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 Fill in this information to identify the case:

 Debtor name         53 Stanhope LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         19-23013
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                         debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 1
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 Debtor         53 Stanhope LLC                                                               Case number (If known) 19-23013
                Name


        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used    Current value of
            property                                      extent of           debtor's interest        for current value        debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 53 Stanhope Street
                     Brooklyn New York                    Joint
                     11221                                Ownership
                     325 Franklin Avenue,                 with 325
                     Brooklyn New York                    Franklin LLC                 Unknown         Debtor's Opinion                 $3,500,000.00




 56.        Total of Part 9.                                                                                                          $3,500,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
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 Debtor         53 Stanhope LLC                                                              Case number (If known) 19-23013
                Name

    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 3
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 Debtor          53 Stanhope LLC                                                                                     Case number (If known) 19-23013
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $3,500,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.            $3,500,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,500,000.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 4
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 Fill in this information to identify the case:

 Debtor name          53 Stanhope LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)              19-23013
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                        Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                    Amount of claim             Value of collateral
                                                                                                                                                    that supports this
                                                                                                                        Do not deduct the value     claim
                                                                                                                        of collateral.
 2.1    Brooklyn lender LLC                           Describe debtor's property that is subject to a lien                   $2,664,019.00             $3,500,000.00
        Creditor's Name                               53 Stanhope Street Brooklyn New York 11221
        370 Lexington Ave                             325 Franklin Avenue, Brooklyn New York
        Suite 1812
        New York, NY 10017
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                              $2,664,019.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Kriss & Feuerstein LLP
         360 Lexington Ave                                                                                      Line   2.1
         New York, NY 10017

         Sidley Austin LLP
         787 7th Ave                                                                                            Line   2.1
         New York, NY 10019



Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 1
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                                                                        Pg 9 of 17
 Fill in this information to identify the case:

 Debtor name         53 Stanhope LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)           19-23013
                                                                                                                                                            Check if this is an
                                                                                                                                                            amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim            Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $5,501.00     $5,501.00
           NYC Water Board                                           Check all that apply.
           PO Box 11863                                                 Contingent
           Newark, NJ 07101-8163                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                 $150,400.00
           Abrams Fensterman LLP                                                       Contingent
           1 Metrotech Center                                                          Unliquidated
           Suite 1701                                                                  Disputed
           Brooklyn, NY 11201
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?           No   Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                   $25,000.00
           CS Construction LLC                                                         Contingent
           116 Norstrand Ave                                                           Unliquidated
           Brooklyn, NY 11205
                                                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?           No   Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                               page 1 of 2
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 Debtor       53 Stanhope LLC                                                                         Case number (if known)            19-23013
              Name

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,750.00
           Hutman &Hutman Certified Public Accounta                             Contingent
           435 E County Line Road                                               Unliquidated
           Lakewood, NJ 08701                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $420.26
           S&F Locksmith INC                                                    Contingent
           199 LEE AVE                                                          Unliquidated
           Brooklyn, NY 11211
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $6,750.00
           Silver Spring Capital                                                Contingent
           244 5th Ave, Suite 2232                                              Unliquidated
           New York, NY 10001                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                         5,501.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       184,320.26

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          189,821.26




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         53 Stanhope LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         19-23013
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                          Chandler Mercer
                                                                                    53 Stanhope Street
             List the contract number of any                                        2nd Floor
                   government contract                                              Brooklyn, NY 11221


 2.2.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                          Charles William Mercer
                                                                                    53 Stanhope Street
             List the contract number of any                                        2nd Floor
                   government contract                                              Brooklyn, NY 11221


 2.3.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                          Santos Muniz
                                                                                    53 Stanhope St
             List the contract number of any                                        1st Floor
                   government contract                                              Brooklyn, NY 11221


 2.4.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                          Timothy Donaldson Jordan Donaldson
                                                                                    53 Stanhope Street
             List the contract number of any                                        2nd Floor
                   government contract                                              Brooklyn, NY 11221




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         53 Stanhope LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         19-23013
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      106 Kingston                                                                        Abrams Fensterman                  D
             LLC                                                                                 LLP                                E/F       3.1
                                                                                                                                    G




    2.2      1125-1133                                                                           Abrams Fensterman                  D
             Greene Ave LLC                                                                      LLP                                E/F       3.1
                                                                                                                                    G




    2.3      119 Rogers LLC                                                                      Abrams Fensterman                  D
                                                                                                 LLP                                E/F       3.1
                                                                                                                                    G




    2.4      1213 Jefferson                                                                      Abrams Fensterman                  D
             LLC                                                                                 LLP                                E/F       3.1
                                                                                                                                    G




    2.5      127 Rogers LLC                                                                      Abrams Fensterman                  D
                                                                                                 LLP                                E/F       3.1
                                                                                                                                    G




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 Debtor       53 Stanhope LLC                                                           Case number (if known)   19-23013


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      167 Hart LLC                                                                    Abrams Fensterman              D
                                                                                             LLP                            E/F       3.1
                                                                                                                            G




    2.7      325 Franklin LLC                                                                Abrams Fensterman              D
                                                                                             LLP                            E/F       3.1
                                                                                                                            G




    2.8      325 Franklin LLC                                                                Brooklyn lender LLC            D   2.1
                                                                                                                            E/F
                                                                                                                            G




    2.9      325 Franklin LLC                  116 Norstrand Ave                             CS Construction LLC            D
                                               Brooklyn, NY 11205                                                           E/F       3.2
                                                                                                                            G




    2.10     53 Stanhope LLC                                                                 Abrams Fensterman              D
                                                                                             LLP                            E/F       3.1
                                                                                                                            G




    2.11     55 Stanhope LLC                                                                 Abrams Fensterman              D
                                                                                             LLP                            E/F       3.1
                                                                                                                            G




    2.12     618 Lafayette                                                                   Abrams Fensterman              D
             LLC                                                                             LLP                            E/F       3.1
                                                                                                                            G




    2.13     834 Metropolitan                                                                Abrams Fensterman              D
             Avenue LLC                                                                      LLP                            E/F       3.1
                                                                                                                            G




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 Debtor       53 Stanhope LLC                                                           Case number (if known)   19-23013


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.14     92 South 4th St                                                                 Abrams Fensterman              D
             LLC                                                                             LLP                            E/F       3.1
                                                                                                                            G




    2.15     APC Holding 1                                                                   Abrams Fensterman              D
             LLC                                                                             LLP                            E/F       3.1
                                                                                                                            G




    2.16     C & YSW, LLC                                                                    Abrams Fensterman              D
                                                                                             LLP                            E/F       3.1
                                                                                                                            G




    2.17     D & W Real                                                                      Abrams Fensterman              D
             Estate Spring                                                                   LLP                            E/F       3.1
             LLC
                                                                                                                            G




    2.18     Eighteen Homes                                                                  Abrams Fensterman              D
             LLC                                                                             LLP                            E/F       3.1
                                                                                                                            G




    2.19     Meserole and                                                                    Abrams Fensterman              D
             Lorimer LLC                                                                     LLP                            E/F       3.1
                                                                                                                            G




    2.20     Natzliach LLC                                                                   Abrams Fensterman              D
                                                                                             LLP                            E/F       3.1
                                                                                                                            G




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re       53 Stanhope LLC                                                                                  Case No.      19-23013
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  6,750.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                  6,750.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Fee is a retainer only. The Debtor is responsible for additional fees after retainer has been exhausted.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 3, 2019                                                                /s/ Mark Frankel
     Date                                                                        Mark Frankel
                                                                                 Signature of Attorney
                                                                                 Backenroth Frankel & Krinsky, LLP
                                                                                 800 Thrid Avenue
                                                                                 New York, NY 10022
                                                                                 (212) 593-1100 Fax: (212) 644-0544
                                                                                 Name of law firm




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                                                                     Southern District of New York
 In re      53 Stanhope LLC                                                                                           Case No.       19-23013
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Chaskiel Strulovitch                                                                                                            100% Membership
 116 Norstrand Ave
 Brooklyn, NY 11205


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Vice President of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date June 3, 2019                                                           Signature /s/ David Goldwasser, Authorized signatory of GC Realty
                                                                                            Advisors
                                                                                            David Goldwasser, Authorized signatory of GC Realty
                                                                                            Advisors

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
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                                                                                   Debtor(s)               Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Vice President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




                                                                        /s/ David Goldwasser, Authorized signatory of GC Realty
 Date:       June 3, 2019                                               Advisors
                                                                        David Goldwasser, Authorized signatory of GC Realty
                                                                        Advisors/Vice President
                                                                        Signer/Title




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